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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Addiction Institute, LLC
                                    Plaintiff,
v.                                                       Case No.: 1:14−cv−05336
                                                         Honorable Gary Feinerman
Kindred Healthcare, Inc.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 28, 2015:


        MINUTE entry before the Honorable Gary Feinerman:The parties have filed a
stipulation of dismissal [50], the terms of which are set forth therein. Status hearing set for
5/7/2015 [49] is stricken. Civil case closed.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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